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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                             Chapter 11
In re:
                                                             Case No. 23-10831 (MFW)
                                    1
Lordstown Motors Corp., et al.,
                                                             (Jointly Administered)
                         Debtors.
                                                             Objection Deadline:
                                                             February 20, 2024, at 4:00 p.m. (ET)

      SUMMARY COVER SHEET TO THE FIFTH MONTHLY STAFFING AND
       COMPENSATION REPORT OF HURON CONSULTING SERVICES LLC
    FOR THE PERIOD FROM DECEMBER 1, 2023, THROUGH DECEMBER 31, 2023


Name of Applicant:                                   Huron Consulting Services LLC

Authorized to provide professional
services to:                                         Official Committee of Unsecured Creditors

Petition Date:                                       June 27, 2023

Date of Retention:                                   August 23, 2023, effective as of July 18, 2023

Period for which compensation and
                                                     December 1, 2023, through December 31, 2023
reimbursement are sought:

Amount of compensation sought as actual,
                                                     $109,405.00
reasonable, and necessary:

Amount of expense reimbursement sought
                                                     $0.00
as actual, reasonable, and necessary:

This is a(n):     X monthly             interim          final application


Huron Consulting Services LLC intends to seek compensation in connection with the preparation of this
Application at a later date.




1
    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       Huron Consulting Services LLC hereby provides this Monthly Report in accordance with

the Retention Order. As set forth in the Monthly Report, Huron Consulting Services LLC incurred

$109,405.00 in aggregate fees and $0.00 in expenses during the period of December 1, 2023,

through December 31, 2023.

       Pursuant to Rule 2016-2(g) of the Local Rules of Bankruptcy Practice and Procedure of

the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), Huron

Consulting Services LLC has reviewed the requirements of Local Rule 2016-2 and this Monthly

Report complies with Local Rule 2016-2.

Dated: January 30, 2024                            /s/ Laura Marcero
                                                   Laura Marcero




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